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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

BEN DAVIS, individually and
on behalf of all others similarly situated,
                                              Case No.: 8:23-cv-02333-SDM-AEP
      Plaintiff,

v.

CR FITNESS HOLDINGS, LLC,

      Defendant.
________________________________/

                   NOTICE OF MEDIATION CONFERENCE
                              (VIA ZOOM)

      PLEASE TAKE NOTICE that, pursuant to this Court’s June 20, 2024 Order

(ECF No. 44), a mediation conference in the above-styled case has been scheduled

for September 16, 2024, at 9:30 a.m. with mediator Jack Townsend via Zoom. An

email invitation including meeting ID and passcode to participate via Zoom will

be provided to the parties before the conference.

Respectfully Submitted:

/s/ Alexis Buese
Alexis Buese (Fla. Bar No. 95777)
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                            CERTIFICATE OF SERVICE

      I hereby certify that on June 27, 2024, I electronically served the foregoing

on all counsel of record.


                                  By: /s/ Alexis Buese
                                     Alexis Buese




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